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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


ALEXIS SALAZAR TRIVINO,

       Petitioner,

v.                                                     Case No: 8:16-cv-2754-T-30TBM
                                                        Crim. No: 8:14-cr-518-T-30TBM
UNITED STATES OF AMERICA,

      Respondent.
________________________________/


                                        ORDER
       THIS CAUSE comes before the Court upon Petitioner Alexis Salazar Trivino’s

Motion to Vacate, Set Aside or Correct Sentence under 28 U.S.C. § 2255 filed on

September 26, 2016. (CV Doc. 1). Upon preliminary review of the motion, the Court

concludes that Petitioner’s motion should be dismissed as time-barred.

                                    BACKGROUND

       Pursuant to a written plea agreement, Petitioner pled guilty to conspiracy to possess

with intent to distribute, and to distribute, five kilograms or more of cocaine while aboard

a vessel subject to the jurisdiction of the United States, in violation of 46 U.S.C. §§

70503(a); 70506(a) and (b); and 21 U.S.C. § 960(b)(1)(B)(ii). (CR Docs. 58, 74, 156). On

August 11, 2015, the Court sentenced Petitioner to 135 months’ imprisonment and 5 years’

supervised release. (CR Doc. 156). Petitioner did not file a direct appeal.
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       Because Petitioner did not file a direct appeal, her judgment of conviction became

final under § 2255(f)(1) when the time for filing a direct appeal expired on August 25,

2015. See Murphy v. United States, 634 F.3d 1303, 1307 (11th Cir. 2011) (stating that

“when a defendant does not appeal his [or her] conviction or sentence, the judgment of

conviction becomes final when the time for seeking that review expires”); Fed R. App. P.

4(b)(1)(A)(i) (allowing a criminal defendant fourteen days after the entry of either the

judgment or the order being appealed to file a notice of appeal). Petitioner therefore had

until August 25, 2016, to file a motion under § 2255.

       Petitioner filed the present motion on September 26, 2016, over a month after his

time for filing a motion under § 2255(f)(1) expired. (CV Doc. 1). Petitioner raises one

ground for relief, seeking a reduction of his sentence under an amendment to United States

Sentencing Guideline § 3B1.2.

                                      DISCUSSION

       Under § 2255(f)(1), Petitioner’s claim is untimely because he filed his motion more

than a year after his judgment of conviction became final. Petitioner asserts that his motion

should be considered timely under § 2255(f)(4) because of a recent amendment to U.S.S.G.

§ 3B1.2. (CV Doc. 1 at 4). Specifically, on April 30, 2015, the United States Sentencing

Commission amended U.S.S.G. § 3B1.2, with the amendment effective as of November 1,

2015, to provide guidance in determining whether a mitigating role adjustment applies.

       Petitioner argues the § 3B1.2 amendment renders his motion timely under §

2255(f)(4) because the motion was filed within 1 year of the amendment. Section

2255(f)(4) provides as follows:

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       A 1-year period of limitation shall apply to a motion under this section. The
       limitation period shall run from the latest of . . . the date on which the facts
       supporting the claim or claims presented could have been discovered through
       the exercise of due diligence.

However, the amendment to § 3B1.2 is not a fact discovered through due diligence, and,

therefore, does not fall within § 2255(f)(4). As such, Petitioner’s motion is untimely.

       For Petitioner’s benefit, even if his motion were not time-barred, he would not be

entitled to relief. The amendment to § 3B1.2 was a clarifying amendment, not a substantive

amendment. Generally, clarifying amendments to the sentencing guidelines are not

cognizable on a § 2255 motion absent a complete miscarriage of justice. See Burke v.

United States, 152 F.3d 1329, 1332 (11th Cir. 1998). Petitioner has not demonstrated a

complete miscarriage of justice.

                                      CONCLUSION

       Accordingly, it is therefore ORDERED AND ADJUDGED that:

       1.     Petitioner Alexis Salazar Trivino’s Motion to Vacate, Set Aside or Correct

Sentence under 28 U.S.C. § 2255 (CV Doc. 1) is DISMISSED as time-barred.

       2.     The Clerk is directed to terminate from pending status the motion to vacate

found at Doc. 178 in the underlying criminal case, case number 8:14-cr-518-T-30TBM.

       3.     The Clerk is directed to terminate any pending motions and close this case.

       CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL
                    IN FORMA PAUPERIS DENIED

       IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

appeal a district court’s denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district

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court must first issue a certificate of appealability (“COA”). Id. “A [COA] may issue . . .

only if the applicant has made a substantial showing of the denial of a constitutional right.”

Id. at § 2253(c)(2). To make such a showing, Petitioner “‘must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims debatable or

wrong,’” Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529

U.S. 473, 484 (2000)), or that “the issues presented were adequate to deserve

encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003)

(internal quotation marks omitted). Petitioner has not made the requisite showing in these

circumstances.

       Finally, because Petitioner is not entitled to a certificate of appealability, he is not

entitled to appeal in forma pauperis.

       DONE AND ORDERED at Tampa, Florida on this 11th day of October, 2016.




Copies furnished to:
Counsel/Parties of Record




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